                       Case 4:14-cv-00216-LGW-GRS Document 16 Filed 09/30/15 Page 1 of 1



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PLAINTIFF                                                                                                   COURT CASE NUMBER
United States of Amedca                                                                                     4:14‐ CV‐ 00216

DEFENDANT                                                                                                   TYPE OF PROCESS
2014 Mcrcedcs Bcnz SG3 AMG,VIN:WDDU⊆璽 BOEA042570                                                            Consellt Orde■ of Forfeiture&Final Judち・ucnt

SERVE                   NAME OFINDiVIDUAL,COMPANY,CORPORAT10N,ETC TO SERVE OR DESCRIPT10N OF PROPERTY TO SEIZE
                        Unltcd Statcs Sccret ScMce
       AT              ADDRESS(Street or RFD,Apartment No,City,State and Zip Code)
                        33 Bull Strcct,Savatmah,GA 31401
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS 8ELOW                                          NUMBER OF PROCESS TO BE
                                                                                                            SERVEDIN THIS CASE
JCffrCyJ・ Buerstattc
Assistant United States Attornリ                                                                             NUMBER OF PART!ES TO BE

P,0.Box 8970                                                                                                SERVEDiN THIS CASE
Savannah,GA 31412                                                                                           CHECK BOXIF SERViCEiS ON USA


SPECIALINSTRUCT10NS OR OTHER INFORMAT10N THAT VVILL ASSIST:N EXPEDITING SERVICE(includes Business and Alternate
Addresses,Telephone Numbers,and Eslmated Times Ava‖ able For Service)
Pursuant to thc COnscnt Ordcr ofForfciture and FinalJudttent,lⅣ                                        hich has becn dcemed FInal,plcase disposc the S20,000.00
U.S.Currency in Hcu of2014 ⅣIercedcs Benz SG3 AMG,VIN:WDDUG7JBOEA042570 according to law.Pcr Stipulation of
Settlement and Rclcase ofAll Claims,the vchicle、 4u need to be retllrncd to the claimant.

CATS#14‐ USS‐ 000398


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                                                                                                PLAINTIFF                             TELEPHONE NO
                                                                                                DEFENDANT                   912‐652‐ 4422
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                                                          C PROCESS
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I acknowladge   reeipt fq the total number   Distnc1 0f ongin   Dishctto Serve           SlGNATURE OF AUTHORIZED TREASURY AGENCY OFFICER                                  DATE
Of   pr@ss irdicated                         No                 No̲̲̲̲̲̲̲̲̲

I HEREBY CERTIFY AND RETURN THAT!口 PERSONALLY SERVED,[コ HAVE LECAL EVIDENCE OF SERVICE.                          □ HAVE EXECUTED AS SHOWNIN"REMARKS".THE PROCESS DESCR18ED

ON THE INDIVIDUAL,00MPANY,CORPORAT10N.ETC,AT THE ADDRESS SHOWN ABOVE OR ON THE ADDRESSINSERTED BELOW
Eコ   lHEREBY CERTIFY AND RETURN THATIAM UNABLE TO LOCATE THEINDIVIDUAL,COMPANY,CORPORAT!ON,ETC NAMED ABOVE
NAME&TlTLE OF IND:VIDUAL SERVEDIF NOT SHOWN A80VE:                                                          tr   A person of suitable age and discretion then residing
                                                                                                                 ln the defendant's usual plac€ of abode.
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ADDRESS: (Complete only if different than shown above)
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REMARKS:
            Pursuant to the Consent Order of Forfeiture and Final Judgment, 520,000.00 in United States Currency in lieu of 2014 Mercedes Benz SG3 AMG, VIN:
            wDoUG7JBOEAO42570 was deposited into the Treasury Forfeiture Fund on 6/8/2015. Pursuant to the Stipulation of Settlement and Release of All Claims, the
            vehicle was released to lbrahim Sule Shehu on 6hOl2Ol5.




TD F 90‐ 22.48 (6′ 96)
